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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                             Case No. 11-23876-Civ-COOKE/GOODMAN

  WILLIAM LINDQUIST, et al.,

        Plaintiffs

  vs.

  JIN LINXIAN, et al.,

        Defendants.                              /

                     DEFENDANT ELSA SUNG’S NOTICE OF RELATED ACTION

            Defendant Elsa Sung, in accordance with Rule 3.8 of the Local Rules of the United States

  District Court for the Southern District of Florida and Section 2.15.00(c) of the Court’s Internal

  Operating Procedures, files this Notice and states:

            1.       The instant case is a derivative action against Elsa Sung, the former Chief

  Financial Officer of Jiangbo Pharmaceuticals, Inc. (“Jiangbo” or the “Company”), the Company,

  other officers and directors of the Company, and its auditors alleging, among other things, breach

  of fiduciary duty, corporate waste and gross mismanagement (the “Derivative Case”).

            2.       After the Derivative Case was filed, Jiangbo was placed into involuntary

  bankruptcy under Chapter 7. The case, pending in the United States Bankruptcy Court for the

  Southern District of Florida, is captioned In re Jiangbo Pharmaceuticals, Inc. f/k/a Genesis

  Pharmaceuticals Enterprises, Inc., No. 13-15624-RBR (the “Bankruptcy Action”).

            3.       Following the Chapter 7 bankruptcy petition, this Court stayed the Derivative

  Case against the Company until the conclusion of the Bankruptcy Action. [ECF No. 76.]

            4.       Thereafter, the bankruptcy trustee filed a notice of removal, removing the

  Derivative Case against Ms. Sung and the other defendants to the Bankruptcy Action
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  (Bankruptcy Action, ECF No. 1), and a motion to intervene as plaintiff in the Derivative Case

  (Bankruptcy Action, ECF No. 12). Ms. Sung objected to the notice of removal and sought

  remand of the Derivative Case. [Bankruptcy Action, ECF No. 5.] The bankruptcy court granted

  the motion to intervene (Bankruptcy Action, ECF No. 21) and granted the removal (Bankruptcy

  Action, ECF No. 23). However, pursuant to agreement between the trustee and Ms. Sung, the

  bankruptcy court ordered the bankruptcy reference for the claims against Ms. Sung withdrawn

  for purposes of a jury trial and issuing final orders or judgment on case dispositive motions

  relating to Ms. Sung. Id. Thus, this Court maintains jurisdiction to oversee any jury trial

  involving Ms. Sung and to finally rule on dispositive motions relating to her.

         5.      After mediation and extensive negotiations, Ms. Sung and the trustee agreed upon

  the terms of a settlement, which included among other things, that the Derivative Action be

  dismissed with prejudice against Ms. Sung, the payment of $900,000 to the bankruptcy estate by

  Ms. Sung’s D&O insurer, and releases by the parties. The settlement was conditioned upon

  Court approval of a bar order which would bar the prosecution of other claims against Ms. Sung

  arising from her employment at Jiangbo.

         6.      The bankruptcy court approved the settlement and the requested bar order (the

  “Order”). [Bankruptcy Action, ECF No. 146.]

         7.      Thereafter, two shareholders who had previously brought a securities class action

  against Jiangbo, Ms. Sung, and others before this Court, as In re Jiangbo Pharmaceuticals, Inc.

  Sec. Litig., No. 11-22556-Civ-COOKE/TORRES, 1 appealed the Order. The appeal is styled:

  Brophy v. Salkin, No. 14-CV-62780-JIC (S.D. Fla.) (the “Related Action”).



  1 This court dismissed the securities class action against Ms. Sung and the auditor and the
  dismissal was recently affirmed by the Eleventh Circuit.          See Brophy v. Jiangbo
  Pharmaceuticals, Inc., No. 14-10213, 2015 WL 1321524 (11th Cir. Mar. 25, 2015).
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         8.      The Related Action, currently pending before District Court Judge James I. Cohn,

  involves subject matter that is a material part of the subject matter of the instant action because

  the outcome of the Related Action may directly affect the settlement of the Derivative Case as to

  Ms. Sung.

  Dated: April 29, 2015                                By: /s/ Tracy A. Nichols
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 29, 2015, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel listed below either via transmission of Notices of

  Electronic Filing generated by CM/ECF or by email and first-class mail:

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